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UNITED STATED DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

ERIC C. SORENSON,
Plaintiff,
-against-
SANDRA SIMPSON,

Defendant.

 

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Case NO. 15-cv-4614 (AMD) (SJB)

NOTICE OF APPEARANCE

PLEASE TAKE NOTICE that the undersigned hereby appears in the above-captioned

action for Defendant Sandra Simpson.

Dated: NeW York, New York
December 5, 2017

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